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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF IOWA

         UNITED STATES OF AMERICA,                )
                                                  )
                      Plaintiff,                  )   Civil No. 4:20-cv-00059
                                                  )
                      V.                          )
                                                  )
         FIVE FIREARMS, ASSORTED                  )
         AMMUNITION, AND ONE BUMP                 )
         srocK SEIZED FROM 102 EAST               )
         RINGGOLD STREET, CRESTON,                )
         IOWA,                                    )
                                                  )
                      Defendants.                 )



               VERIFIED COMPLAINT FOR FORFEITURE IN REM

         COMES NOW PLAINTIFF UNITED STATES OF AMERICA, and hereby

states its complaint in this civil forfeiture matter in conformity with Supplemental

RuIe for Admiralty or Maritime Claims and. Asset Forfeiture G(2), including its

statement of facts supporting a reasonable belief that the government will be able to

meet its burden at trial.

                             I.          NATURE OF THE ACTION

         1.     This is an action to forfeit the Defendant property, described more fully

below, to the United States, pursuant          to 18 U.S.C. S S 924(d)(3) and 18 U.S.C.

S   e83(a)(3)(A).

                                   II.    DEFENDANT /NR,EM

         Z.     The United States seeks to forfeit the following Defendant property,

seized from 102 East Ringgold Street, Creston, Iowa on September 18, 2O1.9:
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          Item                                  Description
          1           A Marlin Firearms Co. 881 rifle (serial number     09522967)
          2           A Savage B.Mag rifle (serial number J82627L)
          3           A Ruger Precision Rimfi rifle (serial number 840-54035)
          4           A Savage Axis rifle (serial number H597715)
          5           A Savage B.Mag rifle (serial number J661405)
         6            Approximately 1377 rounds of assorted ammunition
          7           One bump stock

                                III.     JURISDICTION AND VENUE

         3.         This Court has jurisdiction over an action commenced by the United

States, under 28 U.S.C.          S   1345, and over an action for forfeiture, under 28 U.S.C.

S 1355(a).

         4.         This Court has in rem jurisdiction over the Defendant property under

28 U.S.C.       S   1355(b) and $ 1395(b), because the acts or omissions giving rise to the

forfeiture occurred in this district and because the Defendant property was seized

from and located in this district. The Defendant property is in the possession of the

U.S. Bureau of Alcohol, Tobacco, Firearms and Explosives (hereinafter "ATF") in its

evidence vault in Des Moines, Iowa.

                                 IV.      BASIS FOR FORFEITURE

         5.         The Defendant property is subject to forfeiture pursuant to 18 U.S.C.

S   924(d)(1) as firearms and ammunition involved in or used in a knowing violation of

18 U.S.C. S 922(g)(3), and,            in the case of the "bump stock" it is forfeitable as a
machinegun illegally possessed, in violation of 18 U.S.C. S 922(o). Pursuant to 18

U.S.C.   S    922(g)(3),   it is unlawful for any person who is an unlawful    of or addicted to

any controlled substance, as defined in 21 U.S.C.           S   802, to possess any firearms or

ammunition that have been shipped or transported in interstate foreign commerce.
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       6.     The government believes, based on available knowledge, information,

and belief, that the following factual contentions have evidentiary support, or                 will
likely have evidentiary support after a reasonable opportunity for investigation and

discovery.

                                        V.          FACTS

       7.     The "Controlled Substances Act" was enacted by Congress as Title                  II of
the "Comprehensive Drug Abuse Prevention and Control Act of 1970,' Pub.L. No.

91-513, 84 Stat. 1236 (7970) (codifred at    2l U.S.C.      SS   801-904).

      8.      The term "controlled substance" is defined          in2l   U.S.C.   S   802(6) to mean

a drug or other substance, or immediate precursor, included in any of the five
schedules of such substances set forth in subchapter         I of Title   21.

      9.      Schedule I substances have a high potential for abuse, have no currently

accepted medical use in treatment in the United States, and there is a lack of accepted

safety for use of these controlled substances under medical supervision. 21 U.S.C.

s 812(b)(1)(A)-(c).

      10.     Under the Controlled Substances Act, only persons registered by the

Attorney General of the United States, in accordance with rules and regulations

promulgated by the Attorney General, may legally manufacture                           or distribute
controlled substances. 21 U.S.C. $ 822(a), (b).

       11.    Under the Controlled Substances Act,               it is unlawful to distribute,
dispense,    or   possess   with intent to distribute, a controlled             substance, unless

authorized by law to do so. 21 U.S.C.    S   8a1(a)(1).



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       L2.   Under the Controlled Substances Act,       it is unlawful to knowingly
possess a controlled substance, absent certain circumstances. 21 U.S.C. $ Sa4(a).

       13.   Under the Controlled Substances Act, marijuana          is a   Schedule   I
controlled substance.

       14.   On or about September 18, 2019, and at pertinent times beforehand,

Anthony Jordan Hoadley and Hannah Catherine Hoadley resided              at   102 East

Ringgold Street, Creston, Iowa, with his minor children.

       15.   Hannah Hoadley was the only adult female then residing at 102 East

Ringgold Street, Creston, Iowa.

       16.   On September 18, 2019, Anthony Jordan Hoadley was approximately 35

years old.

       17.   On September 18, 2019, Hannah Catherine Hoadley, formerly known as

Hannah Catherine Nelson, was approximately 25 years old.

       18. At approximately       3:15 p.m. on or about September 18, 2019, law

enforcement lawfully executed a federal search warrant at I02 East Ringgold Street,

Creston, Iowa, looking for evidence related to a shooting of a person in approximately

November 2018.

      19. At times pertinent to this case, Anthony Hoadley was a prospective
member of the Sons of Silence (SOSMC) motorcycle gang and is currently a full

member of the SOSMC.

      20.    The SOSMC is a highly-structured motorcycle club. SOSMC members

have been known to typically collect or stockpile firearms, ammunition, and other

ordnance.
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       21.     Members of the Sons of Silence associated with Hoadley referred to him

as "Hoodie" or "Hoodlum."

       22.     No one was located inside   of LO2East Ringgold Street, Creston, Iowa at

the time the search warrant was executed.

       23.     Subsequently, Hannah Hoadley arrived       at   102 East Ringgold Street,

Creston, Iowa in a black Chrysler 300 while law enforcement were there.

      24.      At no time was Hannah Hoadley placed in custody or restrained by law

enforcement.

      25.      Law enforcement informed Hannah Hoadley she was free to leave.

      26.      Hannah Hoadley voluntarily entered an unmarked government vehicle

and spoke with a person she knew to be an ATF Special Agent while others were

lawfully searching the residence pursuant to the search warrant.

      27.      Pursuant to the federal search warrant, law enforcement officers

lawfully gained entry to the residence, searched the residence, and found the property

described below, including the Defendant property.

      28.      During the search of the residence, law enforcement officers found

evidence of marijuana use by its occupants or residents.

      29.      None of the following evidence of marijuana use was concealed, which

established its presence was not hidden from, and was not concealed by, the residents

of t02 East Ringgold Street, Creston, Iowa.

      30.      On a tool table in the garage, Iaw enforcement officers found a partial

marijuana cigarette, commonly called "a roach," that was charred on one end.


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       31. The condition of "the roach" was          consistent with   it having been
recently smoked by a person.

       32.   The Hoadleys main bedroom was the southwest bedroom, in the corner

ofthe residence.

       33. In a purse in the southwest bedroom, law enforcement also found a
partial marijuana cigarette and a handgun holster.

       34.   The purse belonged to Hannah Hoadley.

       35.   Laying out in the open in the residence, law enforcement officers found

Zig-Zag rolling papers on the kitchen island counter top.

      36.    Zig-Zag rolling papers are commonly used           to create marijuana
cigarettes, like those found in the house.

       37.   Also on the kitchen island, Iaw enforcement officers found an empty, re-

sealable plastic bag labeled     with "Colorado Retail Marijuana" and       "Contains

marijuana" on one side and "7 g (0.25 oz)", "THC 20yo", and "Date: 09/09/19." The bag

also said, "Contains Marijuana" and "Keep away from children."

      38.     This bag contained seven grams of marijuana, before the marijuana was

used to make marijuana cigarettes.

      39.    During the voluntary interview of Hannah Hoadley by law enforcement

offrcers, she stated the bagged marijuana was not hers and claimed she did not use

marijuana.

       40.   In the master bedroom, officers seized five rifles: two in the closet, two

from under the bed, and one next to the bed. AII of the firearms were easily visible;

none were hidden.
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       41.     Officers found    rifle and pistol ammunition throughout the house,
including the master bedroom, southwest bedroom, kitchen, living room, and garage.

       42.    Agents also located a "bump stock" in the master bedroom.

       43. It is illegal for a person to own a "bump stock."
       44.    Anthony Hoadley claimed he purchased the illegal "bump stock" in             a box

of "tools and parts" at a garage sale, stated he did not know what         it was, and said he
let his children play with it.

       45.    Anthony Hoadley said the last time he saw the illegal "bump stock" one

of his minor children was playing with it.

       46.    Under the Firearms Owners' Protection Act ("FOP.{'), Pub. L. 99-308,

100 Stat. 449 (1986), as amended, and interpreted by applicable federal regulations

effective or about December 26, 2018,       it is illegal to possess   a "bump stock" because

it is a machinegun as a device that allows          a semi-automatic fi.rearm to shoot more

than one shot with a single pull of the trigger by harnessing the recoil energy of the

semi-automatic firearm to which     it   is affixed so that the trigger resets and continues

firing without additional physical manipulation of the trigger by the shooter.

      47.    Under 18 U.S.C. S 924(d), the government may forfeit a machinegun, or

"bump stock," as a firearm used in the commission of a willful violation of Chapter

44, Tttle 18, United States Code.

       48.    Because the "bump stock" is illegal per se, and contraband,         it   cannot be

returned to Anthony or Hannah Hoadley or anyone else.




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          49. Anthony Hoadley told law enforcement he did not want the "bump
stock," and he consented to let law enforcement take           it, thereby   abandoning his

interest, if any, in it.

          50. Anthony      Hoadley later told law enforcement      if there was anything
illegal found in the house, he would "lay full claim to it."

          51.    Anthony Hoadley said if there was marijuana in the house           "it was
definitely my marijuana" and "I know God-damn well it ain't a bunch."

          52.    Anthony Hoadley also told law enforcement "to be 100% honest with ya,

I don't   even know what guns and ammo are there."

          53.    Anthony and Hannah Hoadley did not keep close track of the firearms

and ammunition left open around their residence.

          54.    When speaking to law enforcement, Hannah Hoadley was asked              if
anyone else beside her and Anthony Hoadley lived at the residence, she stated "no."

She then stated, "WeIl, technically, the guy who owns the residence lives here

periodically."

          55.    When asked   if the marijuana belonged to the homeowner, Hannah
Hoadley stated     it was not the homeowner's.

          56.    In fact, Anthony Hoadley's minor children also resided with them, and

had open access to the unsecured firearms, ammunition, illegal bump stock, and

marijuana.

          57.    On September 18, 20L9,law enforcement spoke to Anthony Hoadley via

telephone several times, and he admitted that he smoked marijuana,



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      58. Federal law         enforcement documented    the items lawfullv     seized

pursuant to the properly-executed warrant, which includes the following:

          Item Description                                Location
 (2) holsters and packaging              One located in a plastic bag hanging on
                                         coat rack by east door, the other located
                                         on top ofcoat rack shelf
 Ruger BX 15 magazine                    Master bedroom on top of dresser by
                                         drone
 Silver magazine                         Top dresser left side as you look at it-
                                         master bedroom
Assorted ammunition                      Master bedroom shelf on east wall

Black bump stock                         Master bedroom shelf on east wall

Box of Stinger .22LR rounds              Master bedroom at foot of bed

Marlin Rifle, Model 881, .22 cal., S/N   Under master bed toward back (foot of
09522967                                 bed)
Savage B Mag 17 Win Super Mag            Under master bed in front of Marlin rifle
s/N J826271
Ruger Precision .22 cal. Rifle S/N       Master bedroom, right side of bed
840-54035
Savage Axis 30-06 cal. S/N H597715       Master bedroom closet

Savage B Mag 17 SuperMag Qoaded)         Master bedroom closet
s/N J661405
Ammunition from the Savage B Mag         Master bedroom closet
17 SuperMag - One (1) round
chambered, three (3) in magazine in
gun
7.62 (2) magazines (loaded)              Master bedroom closet, top shelf

Ammunition from the 7.62 (2)             Master bedroom closet on top shelf
masazines (7.62 x 39)
(4) Assorted rounds of ammunition        Master bedroom closet, top shelf

 .45 ACP magazine (loaded)               Master bedroom closet, from leather coat,
                                         rieht hand pocket
 243 callber Remington rounds (38)       Kitchen closet bottom shelf

 (3) rounds of assorted ammunition       Television stand in living room

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            Item Description                                Location
 Miscellaneous ammunition                     SW bedroom, east wall in television stand

 .45 ACP shells, S/N on box:                  Box in television stand on east wall of SW
 RIAl858678 e\                                bedroom
 Assorted ammunition                          Hallway cloth cabinet, multiple drawers

 Firearms parts/accessorie     s              Hallway cloth cabinet

 (18) rounds of assorted ammunition           Bottom drawer of plastic container, from
                                              shelf above kitchen desk
 (11) rounds of assorted ammunition           Computer desk in kitchen

 Black holster                                On desk in kitchen, behind the computer
                                              SCIEEN
 Black plastic holster                        SW bedroom in Hannah's purse, bottom
                                              rieht of television stand
 Black hawk holster                           SW bedroom, east wall television stand,
                                              lower left
 Firearm magazines                            Found in tool chest west waIl and
                                              cardboard box south wall in sarase
 Miscellaneous (46) rounds of                 Tool chest, west wall of garage
 ammunition

          59.   The firearms were found in the master bedroom shared by Anthony and

Hannah Hoadley.

          60.   Officers also found SOSMC paraphernalia throughout the house,

including   a beanie on   the kitchen island, assorted clothing and shirts in the southwest

bedroom closet, a coat and vest in the entry way, and t-shirt in the master bedroom

closet.

          61.   Law enforcement was given consent to remove the marijuana and drug

paraphernalia from the residence.

          62.   Hannah Hoadley stated one pistol was hers, a Sig 9mm that Anthony

may have purchased, but said she could not recall who owned the other firearms.


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       63.   Later, when law enforcement asked Hannah Hoadley to identifii which

firearms, if any, were hers, she told federal law enforcement that two of the rifles in

the master bedroom belonged to Anthony Hoadley, the one in the closet and one rifle

under the bed (Savage Axis 30-06 cal. S/N H597715 and Marlin Rifle, Model 881, .22

cal., S/N 09522967). Hannah Hoadley stated the other three guns belonged to her,

although Anthony Hoadley had purchased two of them (Ruger Precision .22 cal. Rifle

S/N 840-54035 and Savage B Mag 17 SuperMag (loaded) S/N J661405).

       64.   The owner of the residence confirmed he did not own any of the seized

firearms and ammunition.

      65.    On or about September 18, 2019, via a phone call with ATF agent,

Anthony Hoadley admitted that he smoked marijuana. "I smoke some weed here and

there. You can put that on the record."

      66.    Subsequent testing conducted by the Iowa Department of Public Safety,

DCI Criminalistics Laboratory confirmed Anthony Hoadley was a user        of,   marijuana.

      67.    Hannah Hoadley stated she and Anthony Hoadley moved to this

residence approximately three months prior to the search.

      68.    When later interviewed by law enforcement, Anthony Hoadley said, "I

don't even carry the guns when   I   smoke weed."

      69.    Anthony Hoadley later told law enforcement, "I don't drink any more,

and the weed takes the place of all that [curse words] Zanex and all that other [curse

word] they [curse word] think   I need . . . If you tell me to stop smoking weed you're
out of your [curse word] mind. If you want to put me in jail for that, Iet's go."


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      70.     Anthony Hoadley also told law enforcement later, "I smoke pot, I was

very open about that."

      71. Anthony Hoadley also told law enforcement he bought and traded                a

Kimber firearm, and ATF took all the other guns he had.

      72.     When speaking to law enforcement, Anthony Hoadley referred to his

wife's firearm, and said "you seen the pistol she carries? We don't carry trash."

      73.     During his conversation with law enforcement, an agitated Anthony

Hoadley said, "If you'd let me get stoned before this happened we'd be having a way

calmer conversation."

      74.     Anthony Hoadley told ATF that in the past "I was a drug addict, and I

was an alcoholic; I was also a super violent person who made stupid rash decisions."

      75.     Anthony and Hannah Hoadley left unsecured firearms, ammunition,

and marijuana in the residence where they resided, at times, with minor children.

      76. It was a violation of 18 U.S.C. S 922(g)(3) for Anthony Hoadley to be a
user of marijuana, a Schedule   I controlled   substance, in possession of firearms and

ammunition.

      77. If    Hannah Hoadley used the marijuana found           in her purse, other
marijuana, or any other controlled substances, when she had actual or constructive

possession of any of the firearms or ammunition seized from her residence,     it   was a

violation of 18 U.S.C. S 922(g)(3) at such time for Hannah Hoadley to be a user of a

controlled substance in possession of firearms and ammunition.

      78. It is illegal for a drug user to actually or constructively possess a firearm
or ammunition, even if he or she does not own it.
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       79.    A person can have sole or joint possession of a firearm and ammunition.

       80. A person who has direct physical control over a firearm                  and

ammunition, in any way, shape, or form, is in actual possession of them.

       81. A person who, although not in actual possession of a firearm and
ammunition, has the ability to knowingly exercise dominion and control over them,

either directly or through another person, is in constructive possession of them.

       82.    A person has constructive possession over a firearm and ammunition     if
he or she has dominion and control over the premises or residence where the firearm

and ammunition is located.

       83.    On September 18, 2019, and thereafter, both Anthony and Hannah

Hoadley made statements to law enforcement essentially admitting they knew all of

the Defendant firearms were in the residence, and they each considered one or more

of the seized firearms, to be theirs.

       84.   On September 18, 2019, the Hoadleys had dominion and control over

their residence and over the firearms and ammunition within it.

       85.   Law enforcement had no reason to disbelieve the above-referenced

statements made on September 18, 2019 by the Hoadleys, insofar as it is a federal

crime to knowingly make a false statement to a federal agent.

      86.    Regardless of who owned the firearms and ammunition         at 102 East
Ringgold Street, Creston, Iowa on September 18, 2019, Anthony and Hannah Hoadley

both had possession of all of the firearms and ammunition in the residence.




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       87   .   On September 18, 2019, Anthony Hoadley was a user of marijuana who

knowingly possessed the Defendant firearms, and some of the evidence suggests

Hannah Hoadley may have been one as well.

       88.      After the firearms and ammunition were seized by ATF, ATF initiated

timely administrative forfeiture proceedings against them.

       89. On or about November 19, 2019, Hannah Hoadley                   contested the

administrative forfeiture, and mailed her claim and   a   petition to ATF, which included

the following firearms:

 Asset                    Asset Description                             Claimed
 Identifrcation                                                         Interest
 Number
 19-ATF-038426            Marlin Firearms  Co. 881 Rifle CAL: 22        Unspecified
                          SN: ****2967
 19-ATF-038427            Savase B.Mae Rifle CAL: 17 SN: ***6271        Unspecified
 19-ATF-038428            Ruger Precision Rimfi Rifle CAL: 22 SN:       Unspecified
                          ****4035
 19-ATF-038429            Savage Axis Rifle CAL: 30-06 SN:              Unspecified
                          ***7715,
 19-ATF-038430            Savase B.Mae Rifle CAL: 17 SN: ***1405        Unspecified

      90.       Hannah Hoadley did not claim any of the approximately 1377 rounds of

ammunition seized. She abandoned her claim to any of the ammunition.

      91.       On November 17, 20t9, Hannah Hoadley frled a Petition for Remission

or Mitigation of Forfeiture with the ATF. In     it, she only claimed an interest in the

following four (4) firearms:

 Asset                    Asset Description                             Claimed
 Identification                                                         Interest
 Number
 19-ATF-038426            Marlin FirearmsCo. 881 Rifle CAL: 22   Unspecified
                          SN: ****2967
                          Savase B.Mae Rifle CAL: 17 SN:
                                                         ***627L Unspecified
 19-ATF-038427

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 Asset                  Asset Description                            Claimed
 Identification                                                      Interest
 Number
 19-ATF-038428          Ruger Precision Rimfr Rifle CAL: 22 SN:      Unspecified
                        ****4035
 19-ATF-038429          Savage Axis Rifle CAL: 30-06 SN:             Unspecified
                        ***7715

Thus, Hannah Hoadley did not, therein, claim ownership or any other interest in the

Savage B.Mag Rifle CAL: 17 SN: ***1405.

      92.    In Hannah Hoadley's Petition, she did not claim to be the owner of any

of the foregoing firearms, but simply claimed an unspecified interest in the frrearms.

      93.    The Ruger Precision Rimfi Rifle CAL: 22 SN: ****4035 was purchased

by Anthony Hoadley at McCunn's Specialty Firearms, LLC in Massena, IA on April

L7, 2019, and not by Hannah Hoadley. While law enforcement was executing the

search warrant, Hannah Hoadley informed law enforcement this fi.rearm was

purchased by Anthony Hoadley and gifted to her.

      94.    The Savage B.Mag Rifle CAL: 17 SN: ***1405 was purchased by

Anthony Hoadley at Walmart in Creston, IA on January 31, 2016, and not by Hannah

Hoadley. While law enforcement was executing, Hannah Hoadley informed law

enforcement this firearm was purchased by Anthony Hoadley and gifted to her.

      95.    The Savage B.Mag Rifle CAL: 17 SN: ***6271 was purchased by

Hannah Nelson, now known as Hannah Hoadley, or February 17, 2016 at Walmart

in Creston, IA. While law enforcement was executing the search warrant, Hannah

Hoadley informed law enforcement this frrearm was owned exclusively by her.

However,   it was found under the master bed with the Marlin       Model 881, which

Hannah Hoadley stated was exclusively owned by Anthony Hoadley.
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       96.   The Savage Axis Rifle CAL: 30-06 SN: ***7715 was purchased by

Dakota Weeks on February 10, 2014 from Walmart              in Creston, IA. While   law

enforcement was executing the search warrant, Hannah Hoadley informed law

enforcement this firearm was owned exclusively by Anthony Hoadley.

       97. In Hannah Hoadley's claim and petition, she stated "These firearms
were purchased legally and   I   do not possess receipts for them."

      98. Hannah Hoadley has, therefore, admitted to having                knowledge

concerning the purchase of all of the firearms, and their presence in her residence.

      99.    Some of the firearms were purchased by Anthony Hoadley when he was

a drug user, and thus unable to legally possess them.

       100. Hannah Hoadley has been aware of Anthony Hoadley's drug use and
possession of firearms at all times pertinent to this case.

       101. Hannah    Hoadley did not do anything that could reasonably be expected

under the circumstances to terminate her husband's possession of the firearms while

he was using marijuana.

       102. ATF published notice of its attempted administrative forfeiture.
       103. No one other than Hannah Hoadley claimed or petitioned ATF
concerning any of the firearms.

       104. Neither Anthony Hoadley nor the owner of lO2 East Ringgold         Street,

Creston, Iowa contested the administrative forfeiture.

       105. The Defendant firearms were shipped or transported in interstate or
foreign commerce.


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        106. The Defendant property is forfeitable under federal law         because they

were firearms and ammunition possessed by one or more prohibited persons, namely

one or more users of marijuana, on September 18, 2019.

                                VI.    CLAIM FOR RELIEF

        For the reasons set forth above, the Defendant property should be forfeited to

the United States as the property was involved or used in a violation of 18 U.S.C.

S   922(g)(3), making   it unlawful for any person who is an unlawful user of or addicted

to any controlled substance, as defined in 21 U.S.C.    S   802, to possess any firearms or

ammunition which have been shipped or transported in interstate foreign commerce.

                                                  Respectfully submitted,

                                                  Marc Krickbaum
                                                  United States


                                                  Craig Peyton Gaumer
                                                  Assistant United States Attorney
                                                  U. S. Courthouse Annex, Suite 286
                                                  110 East Court Avenue
                                                  Des Moines, Iowa 50309
                                                  TeI: (515) 473-9317
                                                  Fax: (515) 473-9292
                                                  Email: crais. gaumer@usdoj. sov




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                                   \rERIFICATION

      I, Matthew Jenkins, state that I am a Special Agent with the Bureau of Alcohol,

Tobacco Firearms and Explosives (ATF), I have read the foregoingVerified Complaint

In. Rem and know its contents, and that the matters contained in the Verified

Complaint are true and correct to the best of my knowledge.

      The sources of my knowledge and information and the grounds of my belief are

the official files and records of the United States, and information supplied to me by

other law enforcement officers, as well as my investigation of this case, together with

others, as an ATF Special Agent.

      I hereby verifu and declare under penalty of perjury that the foregoing is true

and correct.

      Dated: February b,     2020.




                                   Special
                                                     Tobacco, Firearms & Explosives




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